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                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION


SYMBOLOGY INNOVATIONS, LLC,

                 Plaintiff,

     v.                                     Civil Action No. 2:23-cv-00419-JRG

VALVE CORPORATION, GEARBOX                  JURY TRIAL DEMANDED
SOFTWARE, L.L.C.,

                 Defendants.



    DECLARATION OF JESSICA M. KAEMPF IN SUPPORT OF DEFENDANT
   GEARBOX SOFTWARE, L.L.C.’S MOTION TO DISMISS SECOND AMENDED
                            COMPLAINT
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       I, Jessica M. Kaempf, declare as follows:

       1.      I am an attorney admitted to practice before this Court and am an associate with the

law firm of Fenwick & West LLP, counsel for Defendant Gearbox Software, L.L.C. (“Gearbox”).

I make this declaration in support of Defendant Gearbox’s Motion to Dismiss Second Amended

Complaint Under Rule 12(b)(6) For Failure to State a Claim.

       2.      On November 21, 2023, Garteiser Honea, PLLC served Symbology’s infringement

contentions pursuant to Patent Local Rule 3-1 on Gearbox (“Symbology’s Preliminary

Infringement Contentions”).

       3.      In the cover page for Symbology’s Preliminary Infringement Contentions, the

section identifying the Accused Instrumentalities states in its entirety: “Valve products that utilize

QR codes, including but not limited to the Valve Mobile App (Steam), as depicted in the exemplar

charts shown for Gearbox Software.” (emphases added). Symbology’s Infringement Contentions

assert that “upon information and belief” Gearbox infringes directly “at least during internal testing

of the functionalities described herein,” but provide no additional facts in support of this allegation

of direct infringement through the internal testing of Gearbox.

       4.      Symbology’s Infringement Contentions also assert that Gearbox “performs and

induces others to perform” the methods claimed in the asserted patents by inducing “its customers

to sign in on Steam application (provided by Valve Corporation) in order to access and purchase

[Gearbox’s] games.” Symbology’s Preliminary Infringement Contentions do not explain how

Gearbox induces its customer to sign in on the Steam application in an allegedly infringing manner

or otherwise provides additional facts in support of its allegation of induced infringement.

Nowhere in Symbology’s Preliminary Infringement Contentions does Symbology allege that

Gearbox has had knowledge of the QR code used by Valve’s customers to sign in to Valve’s Steam

application, or that Gearbox has had knowledge of Symbology’s contention that such QR code is


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allegedly infringing, or that that Symbology contends Gearbox induced customers to use that QR

code.

        I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct. Executed this 27th day of February, 2024.




                                                      /s/ Jessica M. Kaempf
                                                      Jessica M. Kaempf




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served to all counsel of record who are deemed to have consented to electronic

service via the Court’s CM/ECF system.


Dated: February 27, 2024                              /s/ Jessica M. Kaempf
                                                      Jessica M. Kaempf




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